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                                                   UNITED STATES DISTRICT COURT
                   18
                                                NORTHERN DISTRICT OF CALIFORNIA
                   19
                                                        SAN FRANCISCO DIVISION
                   20
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   21
                           Individual and Representative Plaintiffs,    ADMINISTRATIVE MOTION TO FILE UNDER
                   22                                                   SEAL EXHIBITS TO META’S OPPOSITION
                               v.                                       TO PLAINTIFFS’ ADMINISTRATIVE MOTION
                   23
                        META PLATFORMS, INC., a Delaware
                   24   corporation;
                   25                                   Defendant.
                   26

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ATTORNEYS AT LAW
                                                                                            ADMIN. MOTION TO SEAL
                                                                                             3:23-CV-03417-VC-TSH
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                    1          Pursuant to Civil Local Rule 79-5(c) and 79-5(d), Defendant Meta Platforms, Inc. (“Meta”)

                    2   moves this Court for an Order allowing Meta to file under seal confidential, unredacted versions of

                    3   certain documents relating to Meta’s Opposition to Plaintiffs’ Administrative Motion (“Meta’s

                    4   Letter Brief”). Meta respectfully submits that good cause exists for the filing of these documents

                    5   under seal. The motion is based on the following Memorandum of Points and Authorities and the

                    6   Declaration of Michelle Woodhouse in support of this Administrative Motion to File Under Seal.

                    7          The following chart lists the documents for which Meta requests sealing – in whole or in

                    8   part – in order to protect Meta’s confidential business information.

                    9
                         Document                                         Sealing Request
                   10
                         Exhibit C to Meta’s Letter Brief                        Redacted portions
                   11
                         Exhibit D to Meta’s Letter Brief                        Redacted portions
                   12
                         Exhibit E to Meta’s Letter Brief                        Redacted portions
                   13
                         Exhibit F to Meta’s Letter Brief                        Redacted portions
                   14
                         Exhibit H to Meta’s Letter Brief                        Redacted portions
                   15

                   16
                         Exhibit I to Meta’s Letter Brief                        Entire document

                   17   A [Proposed] Order is filed concurrently herewith, and Meta refers the Court to Meta’s Letter Brief

                   18   itself and the supporting evidence attached thereto as further support for this Administrative

                   19   Motion.
                        I.     LEGAL ARGUMENT
                   20
                               Though the presumption of public access to judicial proceedings and records is strong, it
                   21
                        “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (19787). The Ninth Circuit
                   22
                        treats documents “attached to dispositive motions differently from records [i.e., documents]
                   23
                        attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180
                   24
                        (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For
                   25
                        non-dispositive motions, such as the Parties’ Meta’s Letter Brief, the “good cause” standard applies.
                   26
                        OpenTV v. Apple, No. 14-cv-01622-HSG, 2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015);
                   27
                        Kamakana, 447 F.3d at 1180 (“A ‘good cause’ showing will suffice to seal documents produced in
                   28
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                                                                                                      ADMIN MOTION TO SEAL
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                    1   discovery.”). The Federal Rules afford district courts “flexibility in balancing and protecting the

                    2   interests of private parties.” Kamakana, 447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-

                    3   05330-HSG, 2020 WL 210318, at *8 (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963

                    4   (Fed. Cir. 2021) (finding good cause to seal “confidential business and proprietary information”).

                    5          Portions of Exhibits C through F, H and the entirety of Exhibit I, attached to Meta’s Letter

                    6   Brief, contain Meta’s confidential information, for which Meta requests sealing. Exhibits C, D, F,

                    7   and I are letters from counsel in this action regarding Meta’s privilege log, which contain significant

                    8   discussion and descriptions of Meta’s highly confidential internal communications. Exhibits E and

                    9   H are emails exchanged between counsel in this action regarding Meta’s privilege logs, which

                   10   include information regarding the content of the privilege logs. Meta must request sealing of these

                   11   materials, as this information is highly confidential, and Meta takes steps to carefully protect the

                   12   confidentiality of information of this sort as disclosure has the potential to cause significant

                   13   competitive injury to Meta. See, e.g., Krieger v. Atheros Commc’ns, Inc., No. 11-CV-640-LHK,

                   14   2011 WL 2550831, at *1 (N.D. Cal. Jun. 25, 2011) (finding information regarding party’s “long-

                   15   term financial projections, discussions of business strategy, and competitive analyses” sealable);

                   16   Space Data Corp. v. Alphabet Inc., No. 16-CV-03260-BLF, 2019 WL 285799, at *1 (N.D. Cal.

                   17   Jan. 22, 2019) (finding information regarding party’s confidential and proprietary technical

                   18   information, and sensitive financial information sealable). These sealing requests are critical to

                   19   protect Meta’s confidential sensitive technical and competitive information.

                   20          The specific basis for sealing these materials is outlined in the accompanying declaration

                   21   of Meta’s Associate General Counsel, Michelle Woodhouse. As outlined in Ms. Woodhouse’s

                   22   declaration, disclosure of the protected information contained in the materials Meta seeks to seal

                   23   would cause competitive harm to Meta if this information is publicly disclosed. Meta’s sealing

                   24   requests and proposed redactions are narrowly tailored to include only that information which

                   25   would cause specific, articulable harm, as identified in Ms. Woodhouse’s declaration. In each

                   26   instance, the harm to Meta outweighs the public’s interest in disclosure. See, e.g., In re iPhone

                   27   App. Litig., No. 11-md-02250-LHK, 2013 WL 12335013, at *2 (N.D. Cal. Nov. 25, 2013) (granting

                   28   motion to seal where the defendant’s interest in “maintaining the confidentiality of information
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                    1   about its technology and internal business operations” outweighed that of the public in accessing

                    2   such documents).

                    3   II.    CONCLUSION
                    4          Pursuant to Civil Local Rule 79-5, as appropriate, redacted and unredacted versions of the

                    5   above-listed documents accompany this Administrative Motion. For the foregoing reasons, Meta

                    6   respectfully requests that the Court grant their Joint Administrative Motion to Seal.

                    7

                    8
                        Dated: November 12, 2024                                COOLEY LLP
                    9

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